Case 1:20-cv-21973-JAL Document 5 Entered on FLSD Docket 05/25/2020 Page 1 of 9



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                CASE NO.: 20-CV021973-JAL

 GAIL SULLIVAN,

 Plaintiff,

 v.

 NCL (BAHAMAS), LTD.,

 Defendant.
                                                  /

                           AMENDED COMPLAINT FOR DAMAGES

         Plaintiff, GAIL SULLIVAN, by and through the undersigned attorney, hereby files this

 Complaint for Damages and sues Defendant, NCL (BAHAMAS), LTD., (hereinafter “NCL”), and

 alleges as follows:

                                   GENERAL ALLEGATIONS

         1.     This is an action seeking damages in excess of seventy-five thousand dollars

 ($75,000.00), exclusive of interest, costs, and attorneys’ fees.

         2.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1333 and 1332.

 Further, this matter is being filed in the United States District Court for the Southern District of

 Florida located in Miami-Dade County, Florida, as required by the forum selection clause

 contained within the Cruise Ticket Contract issued by Defendant. Upon information and belief,

 Defendant is in possession of a copy of the subject Ticket Contract.
Case 1:20-cv-21973-JAL Document 5 Entered on FLSD Docket 05/25/2020 Page 2 of 9



        3.      At all times material hereto, GAIL SULLIVAN is and was a resident of the state of

 Florida.

        4.      At all times material hereto, NCL was incorporated in Bermuda and had its principal

 place of business in Miami, Florida.

        5.      All conditions precedent for filing and maintaining this action have been fulfilled,

 have been waived, or do not apply.

        6.      At all times material hereto, NCL owned, operated, maintained, managed, and/or

 controlled the cruise ship the Norwegian Sun.

        7.      On or about May 28, 2019, GAIL SULLIVAN was a fare-paying passenger aboard

 the Norwegian Sun.

        8.      On or about May 28, 2019, GAIL SULLIVAN was walking down an interior

 staircase in the ship when she tripped and fell on a dangerous condition on the stairway. The

 dangerous condition referred to herein includes the slope, tread depths, riser heights, excessively

 rounded noising, poorly maintained carpeting, improper lighting, large and difficult to grasp

 handrail, optical illusion, and other conditions present on the subject stairway at the time of GAIL

 SULLIVAN’s incident.

        9.      As a result of this incident, GAIL SULLIVAN sustained serious injuries, including

 a fractured ankle.

       10.      NOTICE: NCL knew or should have known that the subject stairway was

unreasonably dangerous as a result of its knowledge of prior similar incidents that occurred on that

stairway aboard the Sun and other vessels in its fleet of cruise ships. See Cosmo v. Carnival

Corporation, 272 F.Supp.3d 1336 (S.D. Fla. 2017)(J. Scola). Moreover, upon information and

believe NCL has received several passenger complaints/comments about the unreasonably

dangerous nature of the stairs on its vessels. In addition, upon information and belief, knew or
Case 1:20-cv-21973-JAL Document 5 Entered on FLSD Docket 05/25/2020 Page 3 of 9



should have known that the stairways on Sun were unreasonably dangerous as a result of its

participation design and construction of the Sun and approval of the design and construction of the

stairs. See Groves v. Royal Caribbean Cruises, Ltd., 463 F. App. 837 (11th Cir. 2012). Moreover,

NCL knew or should have known of the unreasonably dangerous condition of its stairways because

the design, maintenance, and lighting methods used by NCL for these stairs deviated from accepted

industry safety practices. See, Holderbaum v. Carnival, 87 F. Supp. 3d. 1345 (S.D. Fla. 2015)(J.

Lenard).

                                          COUNT I
                                 NEGLIGENT FAILURE TO WARN

           Plaintiff hereby adopts and incorporates paragraphs 1 through 10 as if fully set-forth herein,

 and alleges as follows:

       11.        DUTIES OWED: At all times material hereto, NCL had the duty to use reasonable

care under the circumstances, and to maintain and operate its vessel, the Norwegian Sun in a

reasonably safe condition and manner. See, Keefe v. Bahama Cruise Line, Inc., 867 F.2d 1318,

1321 (11th Cir. 1989). Cruise lines owe their passengers a duty to warn of known or foreseeable

dangers which are not open and obvious. See, Brown v. Carnival Corporation, 202 F.Supp. 3d 1332

(S.D. Fla. 2016)(J. Ungaro)(citing Witover v. Celebrity Cruises, Inc., 161 F. Supp. 3d. 1139, 1146

(S.D. Fla. 2016).

       12.        NCL is vicariously liable for the negligent acts and omissions of its employees,

agents, and/or independent contractors committed during the course and scope of their employment

with NCL including their failure to reasonably warn the Plaintiff about the unreasonably dangerous

nature of the stairway(s).

       13.        NCL breached the aforementioned duties of care owed to GAIL SULLIVAN by

failing to warn passengers, including GAIL SULLIVAN, of the dangerous condition of the stairs
Case 1:20-cv-21973-JAL Document 5 Entered on FLSD Docket 05/25/2020 Page 4 of 9



when NCL knew or should have known through the exercise of reasonable care of the dangerous

condition.

       14.       As a direct and proximate result of the aforementioned negligence of NCL,

Plaintiff, GAIL SULLIVAN, was injured, suffered physical impairment and/or disability, mental

anguish, loss of capacity for the enjoyment of life, pain and suffering, the aggravation of pre-

existing conditions, inconvenience, permanent disability, loss of earnings and/or wages, loss of

earning potential, and incurred the costs of reasonable and necessary medical expenses for the

treatment of her injuries. These losses and injuries are permanent and continuing in nature, and

Plaintiff will continue to suffer them in the future.

       WHEREFORE, the Plaintiff demands Judgment against the Defendant for damages

recoverable under the general maritime law and state law including but not limited to economic

damages including medical, psychological, and other related expenses in the past and in the future; lost

income in the past and lost income and earning capacity in the future; non-economic damages in the

past and in the future including pain, suffering, disability, aggravation of a previously existing

condition, physical impairment, scarring, disfigurement, mental anguish, inconvenience, and loss of

capacity for the enjoyment of life; all court costs, all interest due under the applicable law including

interest from the date of the subject incident under General Maritime Law, and any and all other

damages which the Court deems just or appropriate.

                                  COUNT II
              NEGLIGENT DESIGN, CONSTRUCTION, AND/OR APPROVAL
                           OF THE SUBJECT STAIRS

         Plaintiff hereby adopts and incorporates paragraphs 1 through 10 as if fully set-forth herein,

 and alleges as follows:

       15.       DUTIES OWED: At all times material hereto, NCL had the duty to use reasonable
Case 1:20-cv-21973-JAL Document 5 Entered on FLSD Docket 05/25/2020 Page 5 of 9



care under the circumstances, and to maintain and operate its vessel, the Norwegian Sun, in a

reasonably safe condition and manner. See, Keefe v. Bahama Cruise Line, Inc., 867 F.2d 1318,

1321 (11th Cir. 1989). The cruise line had the duty to use reasonable care in designing, constructing,

and approving the areas of the vessel which the cruise line participated in either designing,

construction, or approving. Groves v. Royal Caribbean Cruises, Ltd., 463 F. Appx. 837 (11th Cir.

2012).

         16.     NCL is vicariously liable for the negligent acts and omissions of its employees,

agents, and/or independent contractors committed during the course and scope of their employment

with NCL including their failure to reasonably design, construct, and inappropriate approval of the

unreasonably dangerous nature of the interior stairs.

         17.     NCL breached the aforementioned duties of care owed to GAIL SULLIVAN by

failing to construct, design, and approve a reasonably safe stairway for passengers, including GAIL

SULLIVAN, for use under foreseeable conditions, this includes NCL’s failure to comply with

applicable building, construction, design, and safety standards, as well as codes and regulations for

the design and construction of stairways and walkways.

         18.     As a direct and proximate result of the aforementioned negligence of NCL,

Plaintiff, GAIL SULLIVAN, was injured, suffered physical impairment and/or disability, mental

anguish, loss of capacity for the enjoyment of life, pain and suffering, the aggravation of pre-

existing conditions, inconvenience, permanent disability, loss of earnings and/or wages, loss of

earning potential, and incurred the costs of reasonable and necessary medical expenses for the

treatment of her injuries. These losses and injuries are permanent and continuing in nature, and

Plaintiff will continue to suffer them in the future.

         WHEREFORE, the Plaintiff demands Judgment against the Defendant for damages

recoverable under the general maritime law and state law including but not limited to economic
Case 1:20-cv-21973-JAL Document 5 Entered on FLSD Docket 05/25/2020 Page 6 of 9



damages including medical, psychological, and other related expenses in the past and in the future; lost

income in the past and lost income and earning capacity in the future; non-economic damages in the

past and in the future including pain, suffering, disability, aggravation of a previously existing

condition, physical impairment, scarring, disfigurement, mental anguish, inconvenience, and loss of

capacity for the enjoyment of life; all court costs, all interest due under the applicable law including

interest from the date of the subject incident under General Maritime Law, and any and all other

damages which the Court deems just or appropriate.

                                       COUNT III
                          NEGLIGENT LIGHTING OF THE STAIRWAY

       Plaintiff hereby adopts and incorporates paragraphs 1 through 10 as if fully set-forth herein,

and alleges as follows:

       19.     DUTIES OWED: At all times material hereto, NCL had the duty to use reasonable

care under the circumstances, and to maintain and operate its vessel, the Norwegian Sun, in a

reasonably safe condition and manner. See, Keefe v. Bahama Cruise Line, Inc., 867 F.2d 1318, 1321

(11th Cir. 1989).

       20.     NCL is vicariously liable for the negligent acts and omissions of its employees, agents,

and/or independent contractors committed during the course and scope of their employment with NCL

including their failure to reasonably maintain the subject stairway in a reasonable and safe condition.

       21.     NCL breached the aforementioned duties of care owed to the Plaintiff by failing to

provide sufficient lighting on the carpeted stairs to allow a people walking down the stairs to readily

observe the step and change in elevation under foreseeable circumstances.

       22.     As a direct and proximate result of the aforementioned negligence of NCL, Plaintiff,

GAIL SULLIVAN, was injured, suffered physical impairment and/or disability, mental anguish, loss

of capacity for the enjoyment of life, pain and suffering, the aggravation of preexisting conditions,
Case 1:20-cv-21973-JAL Document 5 Entered on FLSD Docket 05/25/2020 Page 7 of 9



inconvenience, permanent disability, loss of earnings and/or wages, loss of earning potential, and

incurred the costs of reasonable and necessary medical expenses for the treatment of her injuries.

These losses and injuries are permanent and continuing in nature, and Plaintiff will continue to suffer

them in the future.

       WHEREFORE, the Plaintiff demands Judgment against the Defendant for damages

recoverable under the general maritime law and state law including but not limited to economic

damages including medical, psychological, and other related expenses in the past and in the future;

lost income in the past and lost income and earning capacity in the future; non-economic damages in

the past and in the future including pain, suffering, disability, aggravation of a previously existing

condition, physical impairment, scarring, disfigurement, mental anguish, inconvenience, and loss of

capacity for the enjoyment of life; all court costs, all interest due under the applicable law including

interest from the date of the subject incident under General Maritime Law, and any and all other

damages which the Court deems just or appropriate.


                                    COUNT IV
                      NEGLIGENT MAINTENANCE OF THE STAIRWAY

       Plaintiff hereby adopts and incorporates paragraphs 1 through 10 as if fully set-forth herein,

and alleges as follows:

       19.     DUTIES OWED: At all times material hereto, NCL had the duty to use reasonable

care under the circumstances, and to maintain and operate its vessel, the the Norwegian Sun, in a

reasonably safe condition and manner. See, Keefe v. Bahama Cruise Line, Inc., 867 F.2d 1318, 1321

(11th Cir. 1989).

       20.     NCL is vicariously liable for the negligent acts and omissions of its employees, agents,

and/or independent contractors committed during the course and scope of their employment with NCL

including their failure to reasonably maintain the subject stairway in a reasonable and safe condition.
Case 1:20-cv-21973-JAL Document 5 Entered on FLSD Docket 05/25/2020 Page 8 of 9



       21.     NCL breached the aforementioned duties of care owed to the Plaintiff by failing to

reasonably replace and maintain the carpeting, structural, and other components of the stairs in proper

condition for use by passengers under foreseeable conditions.

       22.     As a direct and proximate result of the aforementioned negligence of NCL, Plaintiff,

GAIL SULLIVAN, was injured, suffered physical impairment and/or disability, mental anguish, loss

of capacity for the enjoyment of life, pain and suffering, the aggravation of preexisting conditions,

inconvenience, permanent disability, loss of earnings and/or wages, loss of earning potential, and

incurred the costs of reasonable and necessary medical expenses for the treatment of her injuries.

These losses and injuries are permanent and continuing in nature, and Plaintiff will continue to suffer

them in the future.

       WHEREFORE, the Plaintiff demands Judgment against the Defendant for damages

recoverable under the general maritime law and state law including but not limited to economic

damages including medical, psychological, and other related expenses in the past and in the future;

lost income in the past and lost income and earning capacity in the future; non-economic damages in

the past and in the future including pain, suffering, disability, aggravation of a previously existing

condition, physical impairment, scarring, disfigurement, mental anguish, inconvenience, and loss of

capacity for the enjoyment of life; all court costs, all interest due under the applicable law including

interest from the date of the subject incident under General Maritime Law, and any and all other

damages which the Court deems just or appropriate.

       Dated: May 25, 2020
       Coral Gables, Florida
                                               Respectfully Submitted,

                                               FLANAGAN PERSONAL INJURY &
                                               WRONGFUL DEATH LAW FIRM, P.A.
                                               Counsel for Plaintiff
                                               2 Alhambra Plaza
                                               Suite 620
Case 1:20-cv-21973-JAL Document 5 Entered on FLSD Docket 05/25/2020 Page 9 of 9



                                    Coral Gables, Florida 33134
                                    Tel: (305) 638 – 4143
                                    Fax: (305) 397 - 2636

                             By:    /s/ Michael T. Flanagan
                                    Michael T. Flanagan, Esq.
                                    Fla. Bar No. 0091072
                                    Primary E-mail: mtf@Florida-Justice.com
                                    Secondary E-mail: mtfassistant@Florida-Justice.com
